                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

FITNESS ANYWHERE LLC,
                                                        Case No. 19-cv-04155
                Plaintiff,
                                                        Judge John Z. Lee
v.
                                                        Magistrate Judge Sheila M. Finnegan
95SP_KK, et al.,
                Defendants.


                             DECLARATION OF JUSTIN R. GAUDIO

     I, Justin R. Gaudio, of the City of Chicago, in the State of Illinois, declare as follows:

1. I am an attorney at law, duly admitted to practice before the Courts of the State of Illinois

     and the United States District Court for the Northern District of Illinois. I am one of the

     attorneys for Plaintiff Fitness Anywhere LLC (“TRX” or “Plaintiff”). Except as otherwise

     expressly stated to the contrary, I have personal knowledge of the following facts and, if

     called as a witness, I could and would competently testify as follows:

2. I hereby certify that the Defaulting Defendants (as defined in the accompanying

     Memorandum) have failed to answer or otherwise plead in this action within the allotted time

     in violation of Federal Rule of Civil Procedure 12(a)(1)(A).

3. My office investigated the infringing activities of the Defaulting Defendants, including

     attempting to identify the registrant of each associated Defendant Internet Store and its

     contact information.     Our investigation confirmed that the Defaulting Defendants are

     primarily domiciled in China. As such, I am informed and believe that the Defaulting

     Defendants are not active-duty members of the U.S. armed forces.
4. On September 11, 2019, Plaintiff served Plaintiff’s First Set of Interrogatories (4

   interrogatories) and Plaintiff’s First Set of Requests for the Production of Documents and

   Things to Defaulting Defendants (2 document requests) on Defaulting Defendants and

   received no response. Exhibit 1 attached hereto is a true and correct copy of Plaintiff’s First

   Set of Interrogatories and Plaintiff’s First Set of Requests for the Production of Documents

   and Things to Defaulting Defendants.

5. Plaintiff also served its First Set of Requests for Admissions on Defaulting Defendants on

   September 11, 2019 and received no response. Exhibit 2 attached hereto is a true and correct

   copy of Plaintiff’s First Set of Requests for Admissions to Defaulting Defendants.

6. Information provided by PayPal, Inc., Alipay, Amazon and Wish for only some of the

   Defendants indicates that Defaulting Defendant’s financial accounts have a total restrained

   balance of approximately $70,590. Defaulting Defendants’ financial accounts have received

   at least $9,110,792 in total revenue.

7. Exhibit 3 is an accurate copy of unpublished decisions cited in the corresponding

   Memorandum in Support of TRX’s Motion for Entry of Default and Default Judgment.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on this the 20th day of September 2019 at Chicago, Illinois.


                                            /s/ Justin R. Gaudio
                                            Justin R. Gaudio
                                            Counsel for Fitness Anywhere LLC




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